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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      20-CR-195 (JMF)
                                                                       :
ANTONIO RODRIGUEZ,                                                     :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

       There is a proceeding in this matter scheduled for January 26, 2021. Counsel are directed to
confer and, within two business days of this Order, submit a joint letter indicating their views on
whether the proceeding should be held or if it should be adjourned (and, if so, for how long). If either
party believes that the proceeding should be held, counsel should explain why and indicate their views
on (1) whether the proceeding should be held in person or remotely; and (2) whether, if permitted
under the Constitution, the Federal Rules, and the CARES Act, the Defendant consents to a remote
proceeding and/or to waiving his/her appearance altogether. If the Defendant is detained, counsel
should identify the facility in which the Defendant is held; if the Defendant is not detained, counsel
should indicate whether the Defendant would be capable of participating in a remote proceeding.
Counsel is advised that, for the foreseeable future, some facilities (including the Metropolitan
Correctional Center and the Metropolitan Detention Center) may require that any inmate
appearing in court be quarantined for 14 days upon returning from their appearance.

        After reviewing the parties’ joint letter, the Court will issue an order indicating whether the
proceeding will be held and, if so, how; and addressing any other relevant deadlines and information.
If a proceeding is held, it may have to be at a different time. To that end, counsel should indicate in
their joint letter dates and times during the week of the currently scheduled proceeding that they would
be available for a proceeding, whether in person or remote. In the event of a remote proceeding,
counsel should review and comply with the Court’s Emergency Individual Rules and Practices in Light
of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-furman.

        SO ORDERED.

Dated: January 11, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
